                         CASE 0:22-cr-00072-JRT-BRT Doc. 7 Filed 04/21/22 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                               Plaintiff,              UNDER SEAL
     v.
     ANDREW LEE BARNES,                       Criminal No. 22-72 (1) (JRT/BRT)
                            Defendant,

                                           APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X)Ad Prosequendum           ( )Ad Testificandum

Name of Detainee: ANDREW LEE BARNES
Detained at (custodian): Minnesota Correctional Facility - Faribault

The government is requesting the investigating agency to transport detainee.

Detainee is:            a.)    (X) charged in this district by: Indictment
                        Charging Detainee With: Felon in Possession of a Firearm
            or          b.)    ( ) a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  (X) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on April 21, 2022 at 1:30 p.m. in the courtroom of the Honorable Hildy Bowbeer.

Dated: April 20, 2022                                                                           s/Harry M. Jacobs_______________________
                                                                                                HARRY M. JACOBS, AUSA

                                                              WRIT OF HABEAS CORPUS

            (X)Ad Prosequendum                              ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.

April 21, 2022
____________________________________                                                          s/Hildy Bowbeer
                                                                                             ______________________________________
Date                                                                                         UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
     A.K.A.(s) (if applicable):                                                                        Gender:           Male
     Booking or Fed. Reg.#:                                                                            DOB:              xx/xx/1986
     Facility Address:                     1101 Linden Lane                                            Race:
                                           Faribault,MN55021                                           FBI #:
     Facility Phone:                       507-334-0700
     Currently Incarcerated For:

                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                    (Signature)
